Case 2;15-cv-04454-SJO-JEM Document 35-2 Filed 06/18/15

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Page 1 of 3 Page ID #:1049

UNITED STATES DISTRICT COURT

CENTRAL DISTRICT OF CALIFORNIA

 

FARID MALEK, an individual; MARY ) Case No. 2:15-cv-04454-SJO-JEM
MALEK, an individual, y
) Assigned for all purposes to the Honorable S.
Plaintiffs, ) James Otero in Courtroom 1
vs. )
) DECLARATION OF GEORGE SPRINGS IN
BLACKMER PUMP COMPANY, et al. ) SUPPORT OF DEFENDANT JOHN CRANE INC.’S
) MOTION TO DISMISS FOR LACK OF PERSONAL
Defendants. ) JURISDICTION PURSUANT TO RULE 12(B)(2) OF
) ‘THE FEDERAL RULES OF CIVIL PROCEDURE
) |
) (Served concurrently with Notice of Motion and Motion;
\ Declaration of J. Kyle Gaines; and Proposed Order]
}
) Complaint Filed: May 7, 2015
) ‘Trial Date: Not Set
)
)
1, George Springs, hereby declare:
1. The following statements are within my personal knowledge and if sworn as a witness, J

could and would testify competently thereto.

2. I began working for John Crane Inc. (JCTI”’) on October 3, 1977.

 

 

 

DECLARATION OF GEORGE SPRINGS IN SUPPORT OF JCI’s MOTION TO DISMISS FOR LACK OF PERSONAL
JURISDICTION

 
Case 2°15-cv-04454-SJO-JEM Document 35-2 Filed 06/18/15 Page 2 of 3 Page ID #:1050

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3. Throughout my career, I have been employed by JCI as a sales representative, branch
manager, regional manager, vice president of sales, senior vice president responsible for sales and
facilities, and assistant corporate secretary.

4. I have offered testimony concerning my knowledge of JCI, its history, its products, and
the industry which it conducts its business.

5. JCI is a Delaware corporation. Its principal place of business is located in Illinois.

Ilinois is also where the majority of its high-level officers direct, control, and coordinate operations.

I declare under penalty of perjury under the laws of the United States of America that the
foregoing is true and correct, and that this declaration was executed on this (7 day of June, 2015 in

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Geotge Springs

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DECLARATION OF GEORGE SPRINGS IN SUPPORT OF JCI?’S MOTION TO DISMISS FOR LACK OF PERSONAL
JURISDICTION

 
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2:15-cv-04454-SJO-JEM Document 35-2 Filed 06/18/15 Page 3o0f3 Page ID #:1051

CERTIFICATE OF SERVICE

The undersigned counsel for Defendant John Crane Inc. hereby certifies that a
true and correct copy of the forgoing document was filed with the Court and served
electronically through the CM-ECF (Electronic Case Filing) system to all counsel of
record registered to receive a Notice of Electronic Filing for this case on this 18th day
of June, 2015. To ensure service to the parties that have yet to appear in the federal
court action, it was also served electronically through Lexis File & ServeXpress to all

counsel of record in the state court action on this 18th day of June, 2015.

/s/ J. Kyle Gaines
J. Kyle Gaines

 

CERTIFICATE OF SERVICE
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